Case 22-32880 Document1 Filed in TXSB on 09/30/22 Page 1 of 5

 

- United States Bankruptcy Court for the:

a 0 u/s aE th, District of / UK he s
(State)

 

Chapter (J Check if this is an
: amended filing

| Case number (if known):

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

 

 

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name LaLEe Hp. Le he

 

2. All other names debtor used

 

in the last 8 years

 

 

Include any assumed names,

 

trade names, and doing business
as names

 

3. Debtor’s federal Employer ¥ 5 _/ 6
Identification Number (EIN) a

64.76

 

 

 

 

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
&
Y)0S Washintkm Ace
Number Street ~ Number Street
P.O. Box

Aust Th 77017

City State ZIP Code City State ZIP Code

 

Location of principal assets, if different from
principal place of business

Antris

County

 

Number Street

 

 

City State ZIP Code

5. Debtor’s website (URL)

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 22-32880 Document1 Filed in TXSB on 09/30/22 Page 2 of 5

Debtor

Case number (if known).

 

Name

6. Type of debtor

7. Describe debtor’s business

Troan (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
Q) Partnership (excluding LLP)

Cl Other. Specify:
A. Check one:

CJ Health Care Business (as defined in 11 U.S.C. § 101(27A))
UJ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L} Railroad (as defined in 11 U.S.C. § 101(44))

(J Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

(J Clearing Bank (as defined in 11 U.S.C. § 781(3))
(-Nfone of the above

B. Check all that apply:

U] Tax-exempt entity (as described in 26 U.S.C. § 501)

(J) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

() Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
hitp://www.uscourts.gov/four-digit-national-association-naics-codes .

DWU2US//

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

Official Form 201

Check one:

Q Chapter 7

oe 9
Chapter 11. Check all that apply:

LJ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax retum or if any of these documents do not exist, follow the procedure in

a, U.S.C. § 1116(1)(B).

The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

CJ A plan is being filed with this petition.

U Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

CJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

U The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
42b-2.

C] Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page
Case 22-32880 Document1 Filed in TXSB on 09/30/22 Page 3 of 5

Debtor

Case number (if known)

 

Name

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

11. Why is the case filed in this
district?

Yes. District When Case number

MM/ DD/IYYYY

District When Case number

MM/ DD/YYYY

C] Yes. Debtor Relationship

 

District When

 

MM / DD /YYYY

Case number, if known

 

an. that apply:

Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

CA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

QO) Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the property need immediate attention? (Check aif that apply.)

O it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

C) it needs to be physically secured or protected from the weather.

CD It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

C) Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?

QL) No

CQ Yes. insurance agency

 

Contact name

 

Phone

 

 

eed Statistical and administrative information

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case 22-32880 Document1 Filed in TXSB on 09/30/22 Page 4 of 5

Debtor

 

Name

Case number (if known)

 

13. Debtor’s estimation of
available funds

14. Estimated number of

Check one:

me will be available for distribution to unsecured creditors.
After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

———

 

ciiace CU) 50-99 UO) 5,001-10,000 QJ 50,001-100,000
C) 100-199 UL) 10,001-25,000 LJ More than 100,000
L) 200-999
C) $0-$50,000 [L} $1,000,001-$10 million CI $500,000,001-$1 billion

15. Estimated assets

$50,001-$100,000
LJ $100,001-$500,000
CL} $500,001-$1 million

LC] $10,000,001-$50 million
C) $50,000,001-$100 million
L} $100,000,001-$500 million

J $1,000,000,001-$10 billion
L} $10,000,000,001-$50 billion
C) More than $50 billion

 

16. Estimated liabilities

eae Request for Relief, Declaration, and Signatures

CL) $0-$50,000
ee oie
$100,001-$500,000

(} $500,001-$1 million

Q) $1,000,001-$10 million

C2 $10,000,001-$50 million
Q) $50,000,004-$100 million
U) $100,000,001-$500 million

CJ} $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
L) $10,000,000,001-$50 billion
LJ More than $50 billion

 

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

debtor

Official Form 201

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.

| have been authorized to file this petition on behalf of the debtor.

! have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

  

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Printed name

er OT Ree

—_
Signature of authorized representative of debtor

Title Cewtr

page 4
Case 22-32880 Document1 Filed in TXSB on 09/30/22 Page 5of5

 

 

 

Debtor ~ ° . Case number (if known
Narne
18. Signature of attorne KV
g y x . 4, AY pte 1 27 2e2e
Signature of attorney etn MM /DD /YYYY

They J wylsom
Printed name

Wilson k fisssuifog PLE

Firm name

F014 We Grand Feifiry SK HY YY

v

Number Street
Ri chimed TK  17¥V07

 

 

 

 

 

City State ZIP Code
BElGT6 WEF W077 © yahrrs or.
Contact phone Email‘address
007% 6356 Te kay
Bar number State

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
